     Case 2:08-cr-00165-WFN   ECF No. 94   filed 05/04/09   PageID.246 Page 1 of 1




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 4
                           UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,               )
 7                                            )    No. CR-08-165-WFN-2
                       Plaintiff,             )
 8                                            )    ORDER GRANTING DEFENDANT’S
      v.                                      )    UNOPPOSED MOTION FOR
 9                                            )    PERMISSION TO TRAVEL OUTSIDE
      KENNETH MARSH,                          )    THE EASTERN DISTRICT
10                                            )
                       Defendant.             )
11                                            )

12         Before the court is the Defendant, Kenneth Marsh’s Motion for

13   Permission to Travel Outside of the Eastern District of Washington.

14   The court has considered the Motion, without oral argument, and

15   finds that there is good cause to grant the requested relief.

16         IT IS ORDERED that Defendant’s unopposed Motion for Permission

17   to Travel Outside the Eastern District of Washington (Ct. Rec. 92)

18   is GRANTED.     The Defendant shall be permitted to travel to the

19   Western District of Washington on May 8, 2009, to return on May 11,

20   2009.     While outside the Eastern District of Washington, the

21   Defendant shall stay in Seattle, Washington.               The Defendant shall

22   contact U.S. Probation Officer Ann Sauther on Monday, May 12, 2009,

23   by telephone to confirm he has returned to the Eastern District of

24   Washington. All other standard and any special conditions of the

25   Defendant’s pretrial release shall remain in full force and effect.

26         DATED May 4, 2009.

27                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
28

     ORDER GRANTING DEFENDANT’S UNOPPOSED MOTION FOR PERMISSION
     TO TRAVEL OUTSIDE THE EASTERN DISTRICT - 1
